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BERNARD CURRAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, Case No.: 3:21-cr-00453-SI
Plaintiff, DECLARATION OF RETIRED DBI
DEPUTY DIRECTOR DANIEL P.
Vv. LOWREY IN SUPPORT OF DEFENSE
SENTENCING MEMORANDUM

BERNARD CURRAN,

Defendants.

 

 

I, Daniel P. Lowery, declare:

l. I ama Retired Deputy Director of the City and County of San Francisco Department of
Building Inspection (“DBI”). I make this Declaration in support of Defendant Bernie Curran’s
Sentencing Memorandum. The facts set forth herein are true based on my own knowledge except
where stated to be on information and belief, and as to those I believe such facts to be true.

2. I was employed at DBI in various capacities during an approximate twenty-one-year
period from 2000 to February 2021. During my career at DBI I served as a Building Inspector, Senior
Building Inspector, Chief Building Inspector, and finally Deputy Director for both Inspection Services
and Plan Check Services of the Agency. I served as a DBI Deputy Director for approximately eight

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DECLARATION OF RETIRED DEPUTY DIRECTOR EDWARD SWEENEY IN SUPPORT CASE NO.
OF DEFENSE SENTENCING MEMORANDUM 3:21-CR-00453-VC-1

 

 
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years. Before my career at DBI, I worked as a union carpenter in San Francisco from 1974-1999, and
before that as a commercial fisherman.

3. During my term as a DBI Deputy Director, I supervised Bernard Curran for
approximately ten years. Mr. Curran’s evaluations were always extremely positive, and | never heard
or was aware of any allegations of corruption surrounding him. He was a hard worker who knew what
he was doing; when he was a Senior Inspector, it was common for other Senior Inspectors to ask him
for help with their jobs. In the parlance of DBI, Bernie always “knew what he was looking at.’

4. When emergencies happened, like a car driving into a building or a structure sliding
down a hill, it was common to call Mr. Curran. He was a valued member of DBI’s Emergency
Response Team, a team comprised of hand-picked, competent inspectors. Bernie received municipal
awards during his tenure at DBI for emergency responses, including from the Mayor of San Francisco.

3: In response to allegations of impropriety involving ‘out-of-district’ inspections, | would
say it was a regular occurrence for inspectors—and Senior Inspectors—to go outside their own districts
to perform inspections. This was especially true during busy times or due to personnel shortages. Ifa
particular district was backed-up with inspections, it was sometimes necessary to ‘open-up’ the district
to anyone who was able to help with the workload. During those times, inspectors could conduct as
many as twenty inspections per day.

6. It was also common for contractors to call inspectors directly if they were unable to
wait for a scheduled inspection or due to hazardous conditions of the scope of work, such as
excavation below grade of an adjoining property which could undermine a neighboring found ation.
DBI was essentially a service enterprise and preventing contractors and work crews from sitting idle
waiting for an inspection was a goal of the Department. Mr. Curran was known as an inspector who
‘always answered the phone.’ Far from a sign of corruption, this was a sign of his superior work ethic
and willingness to help someone in need.

Es Regarding the accusations of shortcomings on a small number of Mr. Curran’s tens of
thousands of lifetime inspections, I would note that all construction work projects are inherently
imperfect; the failure to order the removal of a non-bearing wall or check that a sprinkler permit was

obtained by an architect after the fact, are not necessarily signs of corruption, but signs of the day-to-

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DECLARATION OF RETIRED DEPUTY DIRECTOR EDWARD SWEENEY IN SUPPORT CASE NO.
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day judgement calls, accommodations, and even mistakes, that were made by inspectors at DBI.
I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

 
 

  

 

 

Executed this / day of May 2023 at es , California.
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Daniel P. Lowrey
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DECLARATION OF RETIRED DEPUTY DIRECTOR EDWARD SWEENEY IN SUPPORT CASE NO.

OF DEFENSE SENTENCING MEMORANDUM 3:21-CR-00453-VC-]

 
